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                 EXHIBIT 15
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                       DEPARTMENT OF THE TREASURY
                              Washington, DC 20220


                                  August 26, 2014
                              Department of the Treasury
                           2014-2015 Priority Guidance Plan

                                  Joint Statement by:

                                   Mark J. Mazur
                           Assistant Secretary (Tax Policy)
                           U.S. Department of the Treasury

                                    John A Koskinen
                                     Commissioner
                               Internal Revenue Service

                                   William J. Wilkins
                                     Chief Counsel
                               Internal Revenue Service



We are pleased to announce the release of the 2014–2015 Priority Guidance Plan.

In Notice 2014-18, we solicited suggestions from all interested parties, including
taxpayers, tax practitioners, and industry groups. We recognize the importance of
public input to formulate a Priority Guidance Plan that focuses resources on guidance
items that are most important to taxpayers and tax administration.

The 2014–2015 Priority Guidance Plan contains 317 projects that are priorities for
allocation of the resources of our offices during the twelve-month period from July 2014
through June 2015 (the plan year). The plan represents projects we intend to work on
actively during the plan year and does not place any deadline on completion of projects.
Projects on the 2014–2015 plan will provide guidance on a variety of issues important to
individuals and businesses, including international taxation, health care, and
implementation of legislative changes. Some projects that were on the 2013-2014
Priority Guidance Plan have not been included on the 2014-2015 plan because they are
no longer considered priorities for purposes of allocating resources during the 2014-
2015 plan year. Some of those projects may be considered for inclusion on a future
Priority Guidance Plan.

In addition to the items on the 2014–2015 plan, the Appendix lists the more routine
guidance that is generally published each year.


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We intend to update and republish the 2014–2015 plan during the plan year to reflect
additional items that have become priorities and guidance that we have published
during the plan year. The periodic updates allow us flexibility throughout the plan year
to consider comments received from taxpayers and tax practitioners relating to
additional projects and to respond to developments arising during the plan year.

The published guidance process can be fully successful only if we have the benefit of
the insight and experience of taxpayers and practitioners who must apply the rules.
Therefore, we invite the public to continue to provide us with their comments and
suggestions as we write guidance throughout the plan year.

Additional copies of the 2014–2015 Priority Guidance Plan can be obtained from the
IRS website at http://www.irs.gov/uac/Priority-Guidance-Plan. Copies can also be
obtained by calling Treasury’s Office of Public Affairs at (202) 622-2960.




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                            OFFICE OF TAX POLICY
                                    AND
                         INTERNAL REVENUE SERVICE


                     2014-2015 PRIORITY GUIDANCE PLAN


                           Updated as of July 31, 2014
                            Released August 26, 2014


CONSOLIDATED RETURNS

1.       Final regulations regarding the application of §172(h) to a consolidated group.
         Proposed regulations were published on September 17, 2012.

2.        Regulations under §1.1502-11(b) relating to circular stock basis adjustments.

3.       Regulations under §1.1502-36 and related provisions regarding losses on
         subsidiary stock.

4.        Regulations under §1.1502-76 relating to when a member joins or leaves a
          consolidated group.

5.       Final regulations under §1.1502-77 relating to the status as agent of a consolidated
         group. Proposed regulations were published on May 30, 2012.

6.       Final regulations under §1.1502-91 regarding the redetermination of consolidated
         net unrealized built-in gain and loss. Proposed regulations were published on
         October 24, 2011.

CORPORATIONS AND THEIR SHAREHOLDERS

1.        Regulations under §§301, 302, and 358 regarding the recovery and allocation of
          basis in redemptions, organizations, and reorganizations. Proposed regulations
          were published on January 21, 2009.

2.        Final regulations under §312 regarding the allocation of earnings and profits
          between a transferor and a transferee corporation when assets are transferred in
          connection with a reorganization. Proposed regulations were published on April
          16, 2012.




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3.         Guidance under §§332, 351, and 368 regarding transactions involving the transfer
           or receipt of no net equity value. Proposed regulations were published on March
           10, 2005.

4.         Regulations under §336(e) to revise the treatment of certain stock dispositions as
           asset sales.

5.         Regulations under §§351(e) and 362(a)(2)(F) regarding investment company
           issues.

6.         Guidance regarding when a transfer by a person to a corporation and a transfer by
           that corporation to that person, ostensibly in two separate transactions, should be
           respected as two separate transactions for Federal income tax purposes.

7.         Guidance regarding whether a corporation is a controlled corporation within the
           meaning of §355 if, in anticipation of the distribution of its stock, the distributing
           corporation acquires or retains putative control of the controlled corporation
           through the use of classes of shares having different voting powers.

8.         Guidance regarding the application of §§355 and 361 to a distributing corporation's
           use of its controlled corporation’s stock or securities to retire its putative debt
           issued in anticipation of the distribution of the stock of the controlled corporation.

9.         Regulations relating to the active trade or business requirement under §355(b).
           Proposed regulations were published on May 7, 2008.

10.        Final regulations regarding predecessors and successors under §355(e).
           Proposed regulations were published on November 22, 2004.

11.        Final regulations regarding §358 as applied to all-cash D transactions. Temporary
           and proposed regulations were published on November 21, 2011.

12.        Final regulations under §362(e)(1) regarding the importation of losses. Proposed
           regulations were published September 9, 2013.

13.        Final regulations under §368(a)(1)(F). Proposed regulations were published on
           August 12, 2004.

14.        Final regulations under §381 defining acquiring corporation. Proposed regulations
           under §381 were published on May 7, 2014.

15.        Regulations under §382 concerning the segregation rule effective date.

            •     PUBLISHED 07/31/14 in FR as TD 9685 (TEMP) and REG-105067-14
                  (NPRM).


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16.        Regulations regarding the scope and application of §597.

EMPLOYEE BENEFITS

A.         Retirement Benefits

1.        Regulations updating the rules applicable to ESOPs.

2.        Revenue ruling relating to the recovery of basis under phased retirement program.

3.        Regulations on exceptions to additional tax under §72(t) on early distributions from
          retirement plans and IRAs.

4.        Regulations on the application of the normal retirement age regulations under
          §401(a) to governmental plans. Requests for comments were published in Notice
          2012-29 on April 30, 2012, and in Notice 2007-69 on August 27, 2007.

5.        Regulations on closed defined benefit plans and related matters.

6.        Guidance regarding revisions to the determination letter process and interim
          amendment procedures.

7.        Final regulations under §401(a)(9) on deferred annuities. Proposed regulations
          were published on February 3, 2012.
            •    PUBLISHED 07/02/14 in FR as TD 9673.

8.        Guidance regarding substantiation of hardship distributions.

9.        Guidance regarding Qualified Nonelective Contributions (QNECs) and Qualified
          Matching Contributions (QMACs).

10.       Guidance under §§401(k)(12) and (13) on safe harbor §401(k) plans regarding
          certain mid-year changes and certain business transactions.

11.       Guidance under §402(c) on distributions that are disbursed to multiple destinations.

12.       Regulations under §402A on distributions from designated Roth accounts that are
          disbursed to multiple destinations.

13.       Guidance under §404 on deductions for employer contributions to qualified plans.

14.       Guidance on rules applicable to IRAs under §§408 and 408A.




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15.       Withdrawal of proposed regulations §1.408-4(b)(4)(ii) published on 07/14/1981
          regarding the one-rollover-per-year limitation of section 408(d)(3)(B) for IRAs.
          Announcement 2014-15, published on April 14, 2014, announced that the
          proposed regulations would be withdrawn and provided transitional relief.

            •    PUBLISHED 07/11/14 in FR as REG-209459-78 (partial withdrawal of notice
                 of proposed rulemaking).

16.       Guidance updating regulations for service credit and vesting under §411.

17.       Regulations under §411(a)(11). Proposed regulations were published on October
          9, 2008.

18.       Final regulations relating to hybrid plans under §§411(a)(13) and 411(b)(5).
          Proposed regulations were published on October 19, 2010.

19.       Regulations relating to conforming amendments adopted in connection with final
          regulations under §411(b)(5).

20.       Guidance on issues relating to pension equity plans.

21.       Guidance regarding the aggregation rules under §414(m).

22.       Regulations on the definition of governmental plan under §414(d). An ANPRM
          was published on November 8, 2011.

23.       Regulations on the status of Indian tribal governmental plans as governmental
          plans under §414(d). An ANPRM was published on November 8, 2011.

24.       Guidance on pick-up arrangements under §414(h)(2).

25.       Regulations on eligible combined plans under §414(x).

26.       Final regulations under §415 regarding §7873 treaty fishing rights income.
          Proposed regulations were published on November 15, 2013.

27.       Final regulations under §417(e) to simplify the treatment of optional forms of benefit
          that are paid partly in the form of an annuity and partly in a more accelerated form.
          Proposed regulations were published on February 3, 2012.

28.       Regulations under §417(e) that update the minimum present value requirements
          for defined benefit plans.

29.       Final regulations on determination of minimum required contributions under §430.
          Proposed regulations were published on April 15, 2008.

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30.       Revenue Procedure relating to approval for funding method changes.

31.       Regulations on additional issues relating to funding and related rules for single-
          employer plans under §§430 and 436.

32.       Guidance under §430(h)(3)(B) updating the mortality tables used for pension
          funding purposes.

33.       Guidance on the new funding rules in the Cooperative and Small Employer Charity
          Pension Flexibility Act.

34.       Guidance under §3405 regarding distributions made to payees with an address
          outside the United States.

35.       Guidance concerning §4975.

36.       Regulations relating to the reporting requirements under §6057. Proposed
          regulations were published on June 21, 2012.

37.       Final regulations under §§6057, 6058, and 6059 regarding electronic filing of Form
          5500. Proposed regulations were published on August 30, 2013.

38.       Guidance on group trusts under Revenue Rulings 81-100 and 2011-1. A request
          for comments was published in Notice 2012-6 on January 17, 2012.

39.       Additional guidance on issues relating to lifetime income from retirement plans.

40.       Guidance on certain issues related to multiple employer plans.

41.       Revenue Procedure amending Revenue Procedure 2013-12 relating to Employee
          Plans Compliance Resolution System (EPCRS) to provide guidance with regard to
          certain corrections.

42.       Guidance providing clarification regarding the Voluntary Closing Program for
          failures not covered by EPCRS.

B.         Executive Compensation, Health Care and Other Benefits, and Employment
           Taxes

1.        Guidance regarding election procedures under §83(b).

2.        Regulations under §86 regarding rules for lump-sum elections.

3.        Guidance under §§119 and 132 regarding employer-provided meals.



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    4.        Regulations on cafeteria plans under §125.

    5.        Guidance under §132(f) on the use of electronic forms of fare media to distribute
              qualified transportation fringe benefits. A request for comments was published in
              Notice 2012-38, 2012-24 IRB.

    6.        Final regulations under §162(m) on the stock-based compensation aggregate limit
              rule under Treas. Reg. §1.162-27(e)(2) and the transition relief under Treas. Reg.
              §1.162-27(f)(1). Proposed regulations were published on June 24, 2011.

    7.        Final regulations under §162(m)(6) as added by §9014 of the Patient Protection
              and Affordable Care Act. 1 Proposed regulations were published on April 2, 2013.

    8.        Guidance under §§280G and 4999(a) on change in ownership.

    9.        Regulations under §404 on application of the "in which or with which ends" rule and
              the exceptions to that rule in §1.404(a)-12(b).

    10.       Final regulations on income inclusion under §409A. Proposed regulations were
              published on December 8, 2008.

    11.       Guidance to update prior §409A correction program guidance.

    12.       Revenue Ruling under §419A on the definition of post-retirement medical benefits.

    13.       Regulations amending §1.419A-2T relating to collectively-bargained welfare benefit
              funds.

    14.       Regulations under §457(f) on ineligible plans.

    15.       Final regulations under §512 explaining how to compute unrelated business
              taxable income of voluntary employees’ beneficiary associations described in
              §501(c)(9). Proposed regulations published on February 6, 2014.

    16.       Guidance on the application of §1402(a)(13) to limited liability companies.

    17.       Guidance updating the reporting requirements for sick pay benefits.




1
 Hereafter the Patient Protection and Affordable Care Act, as amended by the Health Care and
Education Reconciliation Act, is referred to as the ACA.


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18.        Final regulations under §3402(p)(3) to allow the Secretary to issue guidance in the
           Internal Revenue Bulletin to describe payments for which the Secretary finds that
           voluntary income tax withholding is appropriate. Temporary and proposed
           regulations were published on November 29, 2013.

19.        Guidance under §§4375 and 4376, as added by §6301(e)(2)(A) of the ACA,
           regarding the annual adjustment in the fee imposed to fund the Patient-Centered
           Outcomes Research Trust Fund.

20.        Regulations under §4980G on the interaction of §4980G and §125 with respect to
           comparable employer contributions to employees’ HSAs.

21.        Notice under §4980I on the excise tax on high cost employer-provided coverage as
           added by §9001 of the ACA.

22.        Guidance under §6053 regarding tips.

23.        Guidance under §6402 on employee consents obtained by employer to claim a
           refund of FICA taxes.

EXCISE TAX

1.         Regulations under §§4051 and 4071 on heavy trucks, tractors, trailers, and tires.

2.         Guidance on the application of the air transportation excise tax under §4261 to
           aircraft management fees.

3.         Guidance under §4261(e)(3)(C) regarding the application of the domestic air
           transportation excise tax under §4261 to the purchase of mileage awards.

4.         Guidance under §4281 regarding the exemption from air transportation taxes for
           small aircraft on nonestablished lines.

5.         Final regulations under §4481 (as amended by the American Jobs Creation Act of
           2004) related to electronic filing of highway use tax returns and the proration of tax
           when vehicles are sold.

6.         Final regulations on the annual fee on branded prescription drug manufacturers
           and importers under §9008 of the ACA. Temporary and proposed regulations were
           published on August 18, 2011.

             •    PUBLISHED on 07/28/14 in FR as TD 9684 (FINAL and TEMP) and REG-
                  123286-14 (NPRM).




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7.         Notice providing procedures relating to the annual fee on branded prescription drug
           manufacturers and importers under §9008 of the ACA.

             •    PUBLISHED on 08/18/14 as Notice 2014-42 in IRB 2014-34 (RELEASED
                  07/24/14).

EXEMPT ORGANIZATIONS

1.         Revenue Procedures updating grantor and contributor reliance criteria under
           §§170 and 509.

2.         Revenue Procedure to update Revenue Procedure 2011-33 for EO Select Check.

3.         Regulations under §§501(a), 501(c)(3), and 508 to allow the Commissioner to
           adopt a streamlined application process that eligible organizations may use to
           apply for recognition of tax-exempt status under §501(c)(3).

             •   PUBLISHED 07/02/14 in FR as TD 9674 (FINAL and TEMP) and REG-
                 110948-14 (NPRM).

4.         Revenue procedure setting forth procedures for issuing determination letters on
           exempt status under §501(c)(3) to eligible organizations that submit Form 1023-
           EZ.

             •   PUBLISHED 07/21/14 in IRB 2014-30 as REV. PROC. 2014-40
                 (RELEASED 07/01/2014).

5.         Proposed regulations under §501(c) relating to political campaign intervention.

6.         Final regulations on application for recognition of tax exemption as a qualified
           nonprofit health insurer under §501(c)(29) as added by §1322 of the ACA.
           Temporary and proposed regulations were published on February 7, 2012.

7.         Final regulations under §§501(r) and 6033 on additional requirements for charitable
           hospitals as added by §9007 of the ACA. Proposed regulations were published on
           June 26, 2012 and April 5, 2013.

8.         Additional guidance on §509(a)(3) supporting organizations.

9.         Guidance under §512 regarding methods of allocating expenses relating to dual
           use facilities.

10.        Guidance under §4941 regarding a private foundation's investment in a partnership
           in which disqualified persons are also partners.


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11.        Final regulations under §§4942 and 4945 on reliance standards for making good
           faith determinations. Proposed regulations were published on September 24,
           2012.

12.        Final regulations under §4944 on program-related investments and other related
           guidance. Proposed regulations were published on April 19, 2012.

13.        Guidance regarding the excise taxes on donor advised funds and fund
           management.

14.        Guidance under §6033 relating to the reporting of contributions.

15.        Final regulations under §6104(c). Proposed regulations were published on March
           15, 2011.

16.        Final regulations under §7611 relating to church tax inquiries and examinations.
           Proposed regulations were published on August 5, 2009.

FINANCIAL INSTITUTIONS AND PRODUCTS

1.         Guidance under §166 on the conclusive presumption of worthlessness for bad
           debts. Notice 2013-35, which requested comments on the existing rules, was
           published on June 10, 2013.

2.         Regulations relating to the method used to determine the adjusted applicable
           Federal rate for purposes of §§382 and 1288. Notice 2013-4, which requested
           comments on the existing rules, was published on February 25, 2013.

3.         Regulations under §446 on notional principal contracts (NPC) relating to the
           inclusion in income or deduction of a contingent nonperiodic payment and
           guidance relating to the character of payments made pursuant to an NPC.
           Proposed regulations were published on February 26, 2004.

4.         Proposed and final regulations under §§446 and 6045 relating to shares in certain
           money market funds.

             •   PROPOSED REGULATIONS PUBLISHED 07/28/14 in FR as REG-107012-
                 14 (NPRM).

5.         Regulations addressing issues relating to mark-to-market accounting under §475.
           Proposed regulations were published on January 4, 1995, and January 28, 1999.

6.         Final regulations revising the regulated investment company (RIC) asset test
           examples in §1.851-5. Proposed regulations were published on August 2, 2013.



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7.         Notice updating Notice 97-64 to reflect changes to §852 by the Regulated
           Investment Company Modernization Act of 2010.

8.         Guidance under §853 relating to a RIC’s European Union tax reclaim recovery.


9.         Revenue Procedure that will modify Revenue Procedure 2011-16 relating to the
           treatment of distressed debt under §856.

10.        Final regulations under §856 clarifying the definition of real property for purposes of
           the rules for real estate investment trusts. Proposed regulations were published on
           May 14, 2014.

11.        Guidance clarifying the definition of income in §856(c)(3) for purposes of the real
           estate investment trust qualification tests.

12.        Revenue procedure that describes the circumstances in which the Internal
           Revenue Service will not treat a redemption of shares in a money market fund as
           part of a wash sale under §1091. Notice 2013-48, which requested comments on
           a proposed revenue procedure, was published on July 29, 2013.

             •   PUBLISHED on 08/18/14 in IRB 2014-34 as REV. PROC. 2014-45
                 (RELEASED 07/23/14).

13.        Final regulations under §1092 relating to identified mixed straddles. Temporary
           and proposed regulations were published on August 2, 2013, and were corrected
           on October 29, 2013.

             •   PUBLISHED 07/18/14 in FR as TD 9678.

14.        Final regulations amending §1.1092(d)-1(d). Temporary and proposed regulations
           were published on September 5, 2013.

15.        Final regulations on the application of §1256 to certain derivative contracts.
           Proposed regulations were published on September 16, 2011.

16.        Final regulations providing guidance under §6049 for the reporting of premium.
           Temporary and proposed regulations were published on April 18, 2013.

17.        Regulations on prepaid forward contracts. Notice 2008-02 and Revenue Ruling
           2008-01 were published on January 14, 2008.

18.        Regulations relating to accruals of interest (including discount) on distressed debt.




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GENERAL TAX ISSUES

1.        Guidance relating to United States v. Windsor (determining that Section 3 of the
          Defense of Marriage Act is unconstitutional).

2.        Regulations under §36B, as added by §1401 of the ACA, regarding minimum value
          of eligible employer-sponsored coverage and other provisions relating to the health
          insurance premium tax credit. Proposed regulations were published on May 3,
          2013.
          Guidance under §36B, including regulations concerning married individuals filing
3.
          separate returns, §162(l), indexing, and reconciliation.

             •   PUBLISHED on 07/28/14 in FR as TD 9683 (FINAL and TEMP) and REG-
                 104579-13 (NPRM).

             •   PUBLISHED on 08/11/14 as Rev. Proc. 2014-37 in IRB 2014-33 (RELEASED
                 07/24/13).

             •   PUBLISHED on 08/11/14 as Rev. Proc. 2014-41, IRB 2014-33 (RELEASED
                 07/24/13).
4.        Regulations under §41 on the exception from the definition of “qualified research” for
          internal use software under §41(d)(4)(E).

5.        Regulations under §41 on whether the gross receipts component of the research
          credit computation for a controlled group under §41(f) includes gross receipts from
          transactions between group members. Proposed regulations were published on
          December 13, 2013.

6.        Final regulations regarding the election of the alternative simplified credit under
          §41(c)(5). Temporary regulations were published on June 3, 2014.

7.        Regulations on the allocation of the research credit to corporations and trades or
          businesses under common control for purposes of §41(f)(1).

8.        Temporary regulations concerning renewable energy and maximum gross rent
          under §42.

9.        Guidance under §42 relating to the application of the design and construction
          accessibility requirements under the Fair Housing Act.

10.       Regulations under §42 relating to compliance monitoring, including issues identified
          in Notice 2012-18.




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11.       Revenue Procedure updating Revenue Procedure 2007-54, which provides relief
          under §42 in the case of a presidentially declared disaster.

12.       Guidance concerning the exception under §42(d)(6) for any federally or State
          assisted building.

13.       Final regulations concerning utility allowances under §42(g)(2)(B)(ii) for sub-metered
          buildings. Proposed regulations were published on August 7, 2012.

14.       Notice clarifying Notice 2013-26 and Notice 2013-60 regarding how to establish the
          beginning of construction of a facility under §45(d), as modified by American
          Taxpayer Relief Act of 2012.

15.       Final regulations under §45D that revise and clarify certain rules relating to
          recapture of the new markets tax credit as well as other issues. Proposed
          regulations were published August 11, 2008.

16.       Guidance on the energy credit under §48.

17.       Guidance concerning the interaction of the rules in §50(d)(5) and subchapter K.

18.       Notice under §61 providing guidance concerning the federal income tax treatment of
          per capita distributions made to members of Indian tribes from funds held in trust by
          the Secretary of Interior. Interim guidance was published in Notice 2014-17 on
          March 24, 2014.

19.       Guidance under §§61(a)(12) and 1001 regarding whether a recourse purchase-
          money home mortgage loan is treated as a nonrecourse loan from inception if,
          under a state anti-deficiency statute, the lender cannot pursue the homeowner for
          the difference between the amount of the loan and the amount realized on a
          foreclosure or short sale of the home.

20.       Revenue Ruling under §108 regarding the application of the qualified real property
          business indebtedness exclusion for real estate developers.

21.       Final regulations under §§108 and 7701 concerning the bankruptcy and insolvency
          rules and disregarded entities. Proposed regulations were published on April 13,
          2011.

22.       Regulations under §152 regarding the definition of dependent.

23.       Final regulations under §§162 and 262 regarding the deductibility of expenses for
          lodging not incurred in traveling away from home. Proposed regulations were
          published on April 25, 2012.



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24.       Guidance under §165 on determining wagering gains and losses.

25.       Guidance under §165 on worthless stock losses.

26.       Final regulations under §170 regarding charitable contributions. Proposed
          regulations were published on August 7, 2008.

27.       Regulations under §170(f)(8) regarding donee substantiation of charitable
          contributions.

28.       Final regulations under §174 concerning inventory property. Proposed regulations
          were published on September 6, 2013.

             •   PUBLISHED 07/21/14 in FR as TD 9680.

29.       Regulations under §199 including amendments by the Tax Extenders and
          Alternative Minimum Relief Act of 2008.

30.       Regulations under §199 relating to computer software.

31.       Regulations under §213 regarding medical and dental expenses.

32.       Regulations on delay rentals under §§263A and 612.

33.       Regulations under §280A regarding deductions for expenses attributable to the
          business use of homes and rental of vacation homes.

34.       Guidance clarifying whether the business use of an aircraft by a lessee that is a five
          percent owner or related party of the lessor of the aircraft is qualified business use
          for purposes of §280F.

35.       Guidance regarding material participation by trusts and estates for purposes of
          §469.

36.       Regulations under §1012 regarding basis rules for stock and debt.

37.       Guidance updating existing regulations regarding basis to include references to
          §1022 as appropriate.

38.       Final regulations under §5000A concerning minimum essential coverage and other
          rules regarding the shared responsibility payment for individuals.




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 39.       Guidance under §5000A concerning the 2014 national average premium for a
           bronze level of coverage.

              •   PUBLISHED on 08/11/14 as Rev. Proc. 2014-46, IRB 2014-33 (RELEASED
                  07/24/14).

 40.       Final regulations under §7701 regarding Series LLCs and cell companies.
           Proposed regulations were published on September 14, 2010.

 41.       Guidance under §7701 providing criteria for treating an entity as an integral part of a
           state, local, or tribal government.

 42.       Final regulations under §1411, as added by §1402 of the Health Care and Education
           Reconciliation Act, regarding issues related to the net investment income tax.
           Proposed regulations were published on December 2, 2013.

GIFTS AND ESTATES AND TRUSTS

1.          Amendment to extend the effective date of final regulations under §67 regarding
            miscellaneous itemized deductions of a trust or estate. Final regulations were
            published on May 9, 2014.

              •    PUBLISHED 07/17/14 in FR as TD 9664.

2.          Final regulations under §1014 regarding uniform basis of charitable remainder
            trusts. Proposed regulations were published on January 17, 2014.

3.          Revenue Procedure under §2010(c) regarding the validity of a QTIP election on an
            estate tax return filed only to elect portability.

4.          Final regulations under §§2010 and 2505 regarding portability of the deceased spousal
            unused exclusion. Proposed and temporary regulations were published on June 18,
            2012.

5.          Final regulations under §2032(a) regarding imposition of restrictions on estate
            assets during the six month alternate valuation period. Proposed regulations were
            published on November 18, 2011.

6.          Guidance under §2053 regarding personal guarantees and the application of
            present value concepts in determining the deductible amount of expenses and
            claims against the estate.

7.          Regulations under §2642 regarding available GST exemption and the allocation of
            GST exemption to a pour-over trust at the end of an ETIP.



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8.         Final regulations under §2642(g) regarding extensions of time to make allocations
           of the generation-skipping transfer tax exemption. Proposed regulations were
           published on April 17, 2008.

9.         Regulations under §2704 regarding restrictions on the liquidation of an interest in
           certain corporations and partnerships.

10.        Guidance under §2801 regarding the tax imposed on U.S. citizens and residents
           who receive gifts or bequests from certain expatriates.

INSURANCE COMPANIES AND PRODUCTS

1.         Final regulations under §72 on the exchange of property for an annuity contract.
           Proposed regulations were published on October 18, 2006.

2.         Guidance on annuity contracts with a long-term care insurance rider under §§72
           and 7702B.

3.         Guidance clarifying whether the Conditional Tail Expectation Amount computed
           under AG 43 should be taken into account for purposes of the reserve ratio test
           under §816(a) and the statutory reserve cap under §807(d)(6).

4.         Guidance providing de minimis relief under §833.

5.         Guidance on exchanges under §1035 of annuities for long-term care insurance
           contracts.

6.         Regulations under §7702 defining cash surrender value.

7.         Guidance relating to captive insurance companies.

INTERNATIONAL ISSUES

A.         Subpart F/Deferral

1.         Guidance under §954(c), including guidance related to the treatment of
           transactions involving commodities and nonfunctional currency.

2.         Guidance under §954 regarding foreign base company sales and services income.

3.         Regulations under §956 regarding the treatment of loans to foreign partnerships
           and related issues.

4.         Final regulations on the treatment of upfront payments on swaps under §956.
           Temporary and proposed regulations were published on May 11, 2012.


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5.        Final regulations under §959 on previously taxed earnings and profits. Proposed
          regulations were published on August 29, 2006.

6.        Final regulations under §964 on accounting method elections. Proposed
          regulations were published on November 3, 2011.

7.        Guidance under §§1295, 1297, and 1298 on passive foreign investment
          companies. Temporary and proposed regulations were published on December
          31, 2013.

B.        Inbound Transactions

1.        Guidance under §864 implementing Revenue Ruling 91-32 relating to sales of
          certain partnership interests.

2.        Regulations under §871(m), added by the Hiring Incentives to Restore Employment
          Act (HIRE Act) of 2010, on dividend equivalent payments. Final and proposed
          regulations were published on December 5, 2013.

3.        Regulations under §892. Proposed regulations were published on November 3,
          2011.

4.        Regulations under §§1441 and 1446 regarding withholding issues.

5.        Final regulations under §6038A regarding filing requirements for Form 5472. Final
          and proposed regulations were published on June 6, 2014.

6.        Proposed regulations under §6038C on information with respect to foreign
          corporations engaged in a U.S. trade or business.

C.        Outbound Transactions

1.        Regulations and other guidance under §367. Final, temporary, and proposed
          regulations were published on March 19, 2013, regarding outbound property
          transfers by domestic corporations. Notice 2014-32, regarding triangular
          reorganizations involving foreign corporations, was released on April 25, 2014.

2.        Regulations under §367(d) regarding transfers of intangible property to foreign
          corporations, including temporary and proposed regulations to implement Notice
          2012-39.

3.        Final regulations and other guidance under §6038B, including regulations on the
          failure to file gain recognition agreements and other required filings. Proposed
          regulations were published on January 31, 2013.



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4.        Regulations under §7874. Temporary and proposed regulations were published on
          June 7, 2012, regarding substantial business activities. Temporary and proposed
          regulations were published on January 17, 2014, regarding stock that is
          disregarded for purposes of measuring stock ownership.

D.        Foreign Tax Credits

1.        Guidance under §901.

2.        Guidance under §901(m), added by the Education Jobs and Medicaid Assistance
          Act of 2010, on covered asset acquisitions.

            •   PUBLISHED on 08/04/14 in IRB 2014-32 as NOT. 2014-44 (RELEASED
                07/21/14).

            •   PUBLISHED on 08/18/14 in IRB 2014-34 as NOT. 2014-45 (RELEASED)
                07/29/14).

3.        Final regulations under §904, including regarding overall foreign losses. Proposed
          regulations were published on June 25, 2012.

4.        Regulations under §904(d)(6), added by the Education Jobs and Medicaid
          Assistance Act of 2010, on the separate application of the foreign tax credit
          limitation to items resourced under treaties.

5.        Guidance under §905, including final regulations under §905(c) on foreign tax
          redeterminations. Temporary and proposed regulations were published on
          November 7, 2007.

6.        Final regulations under §909 on foreign tax credit splitting events. Temporary and
          proposed regulations were published on February 14, 2012.

E.        Transfer Pricing

1.        Guidance under §482, including with respect to the treatment and allocation of risk.

2.        Annual Report on the Advance Pricing Agreement Program.

3.        Revenue procedure updating Revenue Procedure 2006-9, as amended by
          Revenue Procedure 2008-31, on the Advance Pricing and Mutual Agreement
          Program. Notice 2013-79 was released November 22, 2013.




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F.        Sourcing and Expense Allocation

1.        Regulations and other guidance under §861 regarding the allocation and
          apportionment of interest expense.

            •     PUBLISHED on 07/16/14 in FR as TD 9676.

2.        Regulations under §§861, 862, and 863(a) on the character and source of income,
          including income arising in transactions involving intellectual property and the
          provision of digital goods and services.

G.        Treaties

1.        Guidance under §894, including regulations regarding the application of various
          treaty provisions to payments through hybrid entities.

2.        Guidance under §6105 on the confidentiality of tax convention information.

3.        Revenue procedure updating Revenue Procedure 2006-54 on procedures for
          taxpayers requesting Competent Authority assistance. Notice 2013-78 was
          released November 22, 2013.

H.        Other

1.        Regulations under §937(a), including regulations on the "presence test" for bona
          fide residence in the U.S. territories.

2.        Regulations under §987. Proposed regulations were published on September 7,
          2006.

3.        Guidance on §988 transactions, including hedging transactions. Temporary and
          proposed regulations were published on September 6, 2012.

4.        Guidance under Chapter 3 (§§1441-1446) and under Chapter 4 (§§1471-1474),
          which was added by the HIRE Act of 2010.

5.        Guidance under §3402 on the Military Spouses Residency Relief Act in relation to
          the U.S. territories.

6.        Final regulations under §6038D, added by the HIRE Act of 2010, on foreign
          financial asset reporting. Temporary and proposed regulations were published on
          December 19, 2011.




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7.         Final regulations under §6039E concerning passport information. Proposed
           regulations were published on January 26, 2012.
             •   PUBLISHED 07/18/14 in FR as TD 9679.

8.         Regulations and other guidance under §§6048 and 6677 on foreign trust reporting.

9.         Regulations and other guidance under §7701, including guidance regarding entity
           classification.

10.        Proposed regulations under §5000C relating to specified Federal procurement
           payments received by foreign persons from the U.S. government.

PARTNERSHIPS

1.         Regulations under §108(e)(7).

2.         Regulations under §1.337(d)-3 relating to partnership transactions involving a
           corporate partner’s stock or other equity interests.

3.         Final regulations under §469(h)(2) concerning limited partners and material
           participation. Proposed regulations were published on November 28, 2011.

4.         Regulations concerning the fractions rule under §514(c)(9).

5.         Regulations on forward and reverse allocations under §704(c).

6.         Regulations to update the securities partnership aggregation rules under §704(c).

7.         Guidance under §§704, 707, and 721 on management fee waivers.

8.         Final regulations under §§704, 734, 743, and 755 arising from the American Jobs
           Creation Act of 2004, P.L. 108-357, 118 Stat. 1418, regarding the disallowance of
           certain partnership loss transfers and no reduction of basis in stock held by a
           partnership in a corporate partner. Proposed regulations were published on
           January 16, 2014.

9.         Final regulations under §706(d) regarding the determination of a distributive share
           when a partner's interest changes. Proposed regulations were published on April
           14, 2009.

10.        Regulations under §706(d) regarding the determination of a distributive share of
           any allocable cash basis items and certain other items when a partner’s interest
           changes.



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11.        Regulations under §707 relating to disguised sales of property. Proposed
           regulations were published on January 30, 2014.

12.        Guidance addressing late short tax year returns following technical terminations
           under section 708.

13.        Final regulations under §§709 and 195 on organizational and start-up expenses of
           a partnership after a technical termination. Proposed regulations were published
           on December 9, 2013.

             •   PUBLISHED 07/23/14 in FR as TD 9681.

14.        Guidance relating to §743(b) and contingent liabilities.

15.        Regulations under §751(b) on unrealized receivables and inventory.

16.        Final regulations under §752 regarding related person rules. Proposed regulations
           were published on December 16, 2013.

17.        Final regulations under §§761 and 1234 on the tax treatment of noncompensatory
           partnership options. Proposed regulations were published on February 5, 2013.

18.        Guidance under §7704(d)(1)(E) regarding qualifying income for publicly traded
           partnerships.

SUBCHAPTER S CORPORATIONS

1.         Guidance regarding worthless stock deductions under §165(g) for S corporations.

2.         Guidance under §1366.

3.         Final regulations under §1367 regarding S corporations and back-to-back loans.
           Proposed regulations were published on June 12, 2012.

             •   PUBLISHED 07/23/14 in FR as TD 9682.

4.         Guidance under §1367 regarding basis ordering rules of certain suspended losses.

TAX ACCOUNTING

1.         Guidance under §167 regarding the depreciation of precious metal catalysts.

2.         Guidance under §§167 and 168 for determining whether certain assets used by a
           wireline telecommunication service provider are primarily used for providing one-
           way or two-way communication services.

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3.         Guidance under §§167 and 1031 regarding whether property held simultaneously
           for sale and for lease (also known as “dual-use property”) is eligible for
           depreciation deductions and/or like-kind exchange treatment.

4.         Final regulations under §168 regarding the disposition of tangible depreciable
           property. Proposed regulations were published on September 19, 2013.

5.         Revenue procedure providing procedures for changing methods of accounting to
           comply with final regulations under §168 regarding the disposition of tangible
           depreciable property.

6.         Final regulations under §263A regarding the inclusion of negative amounts in
           additional §263A costs. Proposed regulations were published on September 5,
           2012.

7.         Revenue Procedure under §263(a) regarding the capitalization of cable network
           property.

8.         Revenue Procedure under §263(a) regarding the capitalization of natural gas
           transmission and distribution property.

9.         Revenue Procedure under §263(a) regarding the capitalization of certain retail
           store expenditures.

10.        Regulations under §267 regarding the application of §1.267(b)-1(b) to partners and
           partnerships.

11.        Revenue Procedure under §446 updating Rev. Proc. 97-27 and Rev. Proc. 2011-
           14 providing procedures and rules for automatic and non-automatic changes in
           method of accounting.

12.        Regulations under §451 regarding advance payments received for goods and
           services, including amounts received in exchange for the sale or issuance of gift
           cards, trading stamps, and loyalty points that can be redeemed for goods or
           services.

13.        Regulations under §453 addressing certain annuity contracts received in exchange
           for property.

14.        Regulations under §453A regarding contingent payment sales.

15.        Guidance under §453B regarding nonrecognition of gain or loss on the disposition
           of certain installment obligations.




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16.        Regulations under §460 addressing the application of the lookback interest rules to
           certain pass-through entities with tax-exempt owners.

17.        Regulations under §460 regarding home construction contracts and rules for
           certain changes in method of accounting for long-term contracts.

18.        Revenue ruling under §461 on economic performance for liabilities created under
           multi-year service contracts.

19.        Final regulations amending §1.471-8 regarding the treatment of vendor allowances
           under the retail inventory method. Proposed regulations were published on
           October 7, 2011.

20.        Regulations under §472 regarding dollar-value last-in, first-out (LIFO) inventories,
           including rules for combining pools as a result of a change in method of
           accounting, certain corporate acquisitions, and certain nonrecognition transactions.

21.        Regulations amending §1.472-8 regarding the inventory price index computation
           (IPIC) method.

22.        Guidance regarding the treatment of deferred revenue in taxable asset sales and
           acquisitions.

TAX ADMINISTRATION

1.         Regulations under §3402(q) and §3406 regarding TIN matching for Forms W-2G.

2.         Final regulations on §3406 backup withholding for payment card transactions.
           Proposed regulations were published March 24, 2014.

3.         Guidance under §3406 to replace Social Security Administration validation
           procedures related to backup withholding.

             •    PUBLISHED on 08/04/14 as Rev. Proc. 2014-43, 2014-23 IRB 1
                  (RELEASED 07/18/14).

4.         Guidance under §6015 regarding relief from joint and several liability. Proposed
           regulations were published August 13, 2013.

5.         Guidance under §6041 relating to Forms W-2G.

6.         Guidance under §6050P regarding the 36-month rule for reporting cancellation of
           indebtedness when a financial institution is continuing to pursue collection actions.



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7.         Guidance under section 6050S regarding information reporting on tuition and
           related expenses.
8.         Guidance under §6050W, as added by §3091 of the Housing Assistance Act of
           2008, regarding information reporting on payment card and third-party payment
           transactions.

9.         Regulations under §6103(j) regarding disclosure of return information to the Bureau
           of the Census.

             •   PUBLISHED 07/15/14 in FR as TD 9677 (TEMP) and REG-120756-13
                 (NPRM).

10.        Regulations under §6166 regarding the furnishing of security in connection with an
           election to pay the estate tax in installments.

11.        Procedural guidance for TEFRA partnerships.

12.        Final regulations under §6402 concerning where to file a claim for refund.
           Proposed regulations were published June 10, 2011.

13.        Final regulations under §6501(c)(10) regarding the extension of the statute of
           limitations for assessment relating to failures to report required information
           concerning listed transactions, necessitated by §814 of the American Jobs
           Creation Act of 2004. Proposed regulations were published on October 7, 2009.

14.        Guidance under §6621(d) with regard to interest netting.

15.        Regulations under §§6662, 6662A, and 6664 regarding accuracy-related penalties
           relating to understatements. Interim guidance was issued as Notice 2005-12.

16.        Regulations under §6676 regarding the penalty for erroneous claims for refund as
           added by §8247 of the Small Business and Work Opportunity Tax Act of 2007.

17.        Regulations under §6695A, as added by §1219 of the Pension Protection Act of
           2006, regarding the penalty applicable to appraisers.

18.        Final regulations under §6707 regarding the penalty for failure to furnish
           information required by §6111. Proposed regulations were published on December
           22, 2008.
             •   PUBLISHED on 07/31/14 in FR as TD 9686.

19.        Regulations under §6707A, as amended by §2041(a) of the Small Business Jobs
           Act of 2010, regarding the penalty for failure to disclose reportable transactions.



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20.        Final regulations under §6708 regarding the penalty for failure to make a list of
           advisees available as required by §6112. Proposed regulations were published on
           March 8, 2013.

21.        Update to Revenue Procedure 2009-14 dealing with Pre-Filing Agreements.

22.        Guidance under §7123 concerning alternative dispute resolution.

23.        Final regulations under §7430 regarding attorney fees. Proposed regulations were
           published November 25, 2009.

24.        Revenue Procedure under §7430 regarding awards of attorney fees.

25.        Revenue Procedure under §7502 pertaining to private delivery services. Final
           regulations were published August 23, 2011.

26.        Update to Revenue Procedure 2007-56 (Combat Zone and Disaster Relief).

27.        Regulations under §7526 regarding Low Income Taxpayer Clinics (LITCs).

28.        Final regulations under §7623, as amended by §406 of the Tax Relief and
           Healthcare Act of 2006, regarding whistleblower awards and the operation of the
           Whistleblower Office. Proposed regulations were published on December 18, 2012.

29.        Regulations under §7701 coordinating the entity classification election with
           elections under subchapter M.

30.        Guidance under §§7701(o) and 6662(b)(6) regarding codification of the economic
           substance doctrine by §1409 of the Health Care and Education Reconciliation Act
           of 2010. Prior guidance was issued as Notice 2010-62.

31.        Guidance under §301.9100.

32.        Final regulations relating to the masking of taxpayer identification numbers on
           payee statements. Proposed regulations were published on January 17, 2013.

             •   PUBLISHED on 07/15/14 in FR as TD 9675.

33.        Update to Revenue Procedure 87-24 dealing with administrative appeals and
           disposition of Tax Court cases.

34.        Update to Revenue Ruling 90-5 dealing with Saturday, Sunday and holiday rules
           for filing.




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35.        Guidance prescribing the electronic signature requirements for tax returns and
           other documents submitted to the IRS.
           Guidance on changes in procedures due to realignment of the Tax Exempt and
36.
           Government Entities Division and the Office of the Division Counsel/Associate
           Chief Counsel (TEGE).

TAX-EXEMPT BONDS

1.         Guidance on reallocations of New Clean Renewable Energy Bonds under §54C.

2.         Guidance on the definition of political subdivision under §103 for purposes of the
           tax-exempt, tax credit, and direct pay bond provisions.

3.         Regulations on allocation and accounting principles under §141. Proposed
           regulations were published on September 26, 2006.

4.         Guidance under §141 regarding accountable care organizations.

5.         Revenue Procedure that will update Revenue Procedure 97-13 relating to the
           conditions under which a management contract does not result in private business
           use under §141.

6.         Guidance under §142 to provide temporary relief after a declared disaster.

7.         Final regulations on public approval requirements for private activity bonds under
           §147(f). Proposed regulations were published on September 9, 2008.

8.         Regulations on arbitrage investment restrictions under §148. Proposed regulations
           were published on September 26, 2007, and September 16, 2013.

9.         Final regulations on rebate overpayment under §148. Proposed regulations were
           published on September 16, 2013.

APPENDIX – Regularly Scheduled Publications

JULY 2014

1.         Revenue Ruling setting forth tables of the adjusted applicable federal rates for the
           current month for purposes of §§42, 382, 1274, 1288, and 7520.

             •   PUBLISHED 07/07/14 in IRB 2014-28 as REV. RUL. 2014-20 (RELEASED
                 06/19/14).

2.         Notice setting forth updates for the corporate bond yield curve for plan years
           beginning in July 2014, the 24-month average segment rates, the funding segment

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          rates applicable for July 2014, the spot segment rates for June 2014 that are used
          for determining minimum present values, and the 30-year Treasury rates.

            •   PUBLISHED 07/28/14 in IRB 2014-31 as NOT. 2014-43 (RELEASED
                07/09/14).

3.        Revenue Ruling providing the average annual effective interest rates charged by
          each Farm Credit Bank District.


AUGUST 2014

1.        Revenue Ruling setting forth tables of the adjusted applicable federal rates for the
          current month for purposes of §§42, 382, 1274, 1288, and 7520.

            •   PUBLISHED 08/04/14 in IRB 2014-32 as REV. RUL. 2014-19 (RELEASED
                07/18/14).

2.        Guidance providing the inflation adjustment factor to be used in determining the
          enhanced oil recovery credit under §43 for tax years beginning in the calendar
          year.

3.        Guidance providing the applicable percentage to be used in determining
          percentage depletion for marginal properties under §613A for the calendar year.

4.        Notice setting forth updates for the corporate bond yield curve for plan years
          beginning in August 2014, the 24-month average segment rates, the funding
          segment rates applicable for August 2014, the spot segment rates for July 2014
          that are used for determining minimum present values, and the 30-year Treasury
          rates.

5.        Revenue Procedure providing the domestic asset/liability percentages and the
          domestic investment yield percentages for taxable years beginning after December
          31, 2012, for foreign companies conducting insurance business in the United
          States.

SEPTEMBER 2014

1.        Revenue Ruling setting forth tables of the adjusted applicable federal rates for the
          current month for purposes of §§42, 382, 1274, 1288, and 7520.

2.        Revenue Ruling under §6621 regarding the applicable interest rates for
          overpayments and underpayments of tax for the period October through December
          2013.




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3.        Notice setting forth updates for the corporate bond yield curve for plan years
          beginning in September 2014, the 24-month average segment rates, the funding
          segment rates applicable for September 2014, the spot segment rates for August
          2014 that are used for determining minimum present values, and the 30-year
          Treasury rates.

4.        Guidance under §274 regarding the deemed substantiation of travel expenses
          using per diem rates.

5.        Update of Notice 2004-83 to add approved applicants for designated private
          delivery service status under §7502(f). Will be published only if any new applicants
          are approved.

6.        Notice identifying the counties that experienced exceptional, extreme, or severe
          drought during the preceding 12-month period ending August 31, 2013, for
          purposes of determining whether the replacement period within which to replace
          livestock sold on account of drought is extended under §1033(e)(2)(B) and Notice
          2006-82.

7.        Revenue Ruling setting forth the terminal charge and the standard industry fare
          level (SIFL) cents-per-mile rates for the second half of 2014 for use in valuing
          personal flights on employer-provided aircraft.

OCTOBER 2014

1.        Revenue Ruling setting forth tables of the adjusted applicable federal rates for the
          current month for purposes of §§42, 382, 1274, 1288 and 7520.

2.        Notice setting forth updates for the corporate bond yield curve for plan years
          beginning in October 2014, the 24-month average segment rates, the funding
          segment rates applicable for October 2014, the spot segment rates for September
          2014 that are used for determining minimum present values, and the 30-year
          Treasury rates.

3.        Revenue Procedure under §1 and other sections of the Code regarding the
          inflation adjusted items for 2015.

4.        Revenue Procedure providing the loss payment patterns and discount factors for
          the 2014 accident year to be used for computing unpaid losses under §846.

5.        Revenue Procedure providing the salvage discount factors for the 2014 accident
          year to be used for computing discounted estimated salvage recoverable under
          §832.

6.        Update of Revenue Procedure 2005-27 listing the tax deadlines that may be
          extended by the Commissioner under §7508A in the event of a Presidentially-

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          declared disaster or terrorist attack. Will be published only if there are any
          updates.

7.        Guidance providing the amounts of unused housing credit carryover allocated to
          qualified states under §42(h)(3)(D) for the calendar year.

NOVEMBER 2014

1.        Revenue Ruling setting forth tables of the adjusted applicable federal rates for the
          current month for purposes of §§42, 382, 1274, 1288 and 7520.

2.        Revenue Ruling providing the “base period T-Bill rate” as required by §995(f)(4).

3.        Revenue ruling setting forth covered compensation tables under §401(l)(5)(E) that
          are used for purposes of applying the permitted disparity rules under §401(l) to
          defined benefit plans for the 2015 plan year.

4.        Notice setting forth updates for the corporate bond yield curve for plan years
          beginning in November 2014, the 24-month average segment rates, the funding
          segment rates applicable for November 2014, the spot segment rates for October
          2014 that are used for determining minimum present values, and the 30-year
          Treasury rates.

5.        Update of Revenue Procedure 2006-48 regarding adequate disclosure for
          purposes of the §6662 substantial understatement penalty and the §6694 preparer
          penalty. Will be published only if there are any updates.

6.        News release setting forth cost-of living adjustments effective January 1, 2015,
          applicable to the dollar limits on benefits under qualified defined benefit pension
          plans and other provisions affecting certain plans of deferred compensation.

7.        Federal Register notice on Railroad Retirement Tier 2 tax rate.

8.        Guidance under §274 regarding the 2015 optional standard mileage rates.

DECEMBER 2014

1.        Revenue Ruling setting forth tables of the adjusted applicable federal rates for the
          current month for purposes of §§42, 382, 1274, 1288, and 7520.

2.        Revenue Ruling under §6621 regarding the applicable interest rates for
          overpayments and underpayments of tax for the period January through March
          2014.

3.        Notice setting forth updates for the corporate bond yield curve for plan years
          beginning in December 2014, the 24-month average segment rates, the funding

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          segment rates applicable for December 2014, the spot segment rates for
          November 2014 that are used for determining minimum present values, and the
          30-year Treasury rates.

JANUARY 2015

1.        Revenue Procedure updating the procedures for issuing private letter rulings,
          determination letters, and information letters on specific issues under the
          jurisdiction of the Chief Counsel.

2.        Revenue Procedure updating the procedures for furnishing technical advice,
          including technical expedited advice, to certain IRS offices, in the areas under the
          jurisdiction of the Chief Counsel.

3.        Revenue Procedure updating the previously published list of “no-rule” issues under
          the jurisdiction of certain Associate Chief Counsel (Corporate), Associate Chief
          Counsel (Financial Institutions and Products), Associate Chief Counsel (Income
          Tax and Accounting), Associate Chief Counsel (Passthroughs and Special
          Industries), Associate Chief Counsel (Procedure and Administration), and Division
          Counsel/Associate Chief Counsel (Tax Exempt and Government Entities)on which
          advance letter rulings or determination letters will not be issued.

4.        Revenue Procedure updating the previously published list of “no-rule” issues under
          the jurisdiction of the Associate Chief Counsel (International) on which advance
          letter ruling or determination letters will not be issued.

5.        Revenue Procedure updating procedures for furnishing letter rulings, general
          information letters, etc. in employee plans and exempt organization matters
          relating to sections of the Code under the jurisdiction of the Office of the
          Commissioner, Tax Exempt and Government Entities Division.

6.        Revenue Procedure updating procedures for furnishing technical advice in
          employee plans and exempt organization matters under the jurisdiction of the
          Commissioner, Tax Exempt and Government Entities Division.

7.        Revenue Ruling setting forth tables of the adjusted applicable federal rates for the
          current month for purposes of §§42, 382, 1274, 1288, and 7520.

8.        Revenue Ruling providing the dollar amounts, increased by the 2015 inflation
          adjustment, for §1274A.

9.        Revenue Procedure under §280F providing limitations on depreciation deductions
          for owners of passenger automobiles first placed in service during the calendar
          year and amounts to be included in income by lessees of passenger automobiles
          first leased during the calendar year.


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10.        Revenue Procedure updating procedures for issuing determination letters on the
           qualified status of employee plans under §§401(a), 403(a), 409, and 4975.

11.        Revenue Procedure updating procedures for issuing determination letters and
           rulings on the exempt status of organizations under §§501 and 521.

12.        Revenue Procedure updating procedures for issuing determination letters and
           rulings on public charity/private foundation classification.

13.        Revenue Procedure updating the user fee program as it pertains to requests for
           letter rulings, determination letters, etc. in employee plans and exempt
           organizations matters under the jurisdiction of the Office of the Commissioner, Tax
           Exempt and Government Entities Division.

14.        Notice setting forth updates for the corporate bond yield curve for plan years
           beginning in January 2015, the 24-month average segment rates, the funding
           segment rates applicable for January 2015, the spot segment rates for December
           2014 that are used for determining minimum present values, and the 30-year
           Treasury rates.

15.        Revenue Procedure under §143 regarding average area purchase price.

16.        Notice providing the maximum allowable value for use of the fleet-average value
           and vehicle-cents-per-mile rules to value employer-provided automobiles first
           made available to employees for personal use in the calendar year.

17.        Revenue Ruling setting forth the prevailing state assumed interest rates provided
           for the determination of reserves under §807 for contracts issued in 2014 and
           2015.

FEBRUARY 2015

1.         Revenue Ruling setting forth tables of the adjusted applicable federal rates for the
           current month for purposes of §§42, 382, 1274, 1288, and 7520.

2.         Notice setting forth updates for the corporate bond yield curve for plan years
           beginning in February 2015, the 24-month average segment rates, the funding
           segment rates applicable for February 2015, the spot segment rates for January
           2015 that are used for determining minimum present values, and the 30-year
           Treasury rates.

3.         Notice under §911 on the Housing Cost Amount for 2015.




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MARCH 2015

1.        Guidance providing annual indexing required under §36B.

2.        Revenue Ruling setting forth tables of the adjusted applicable federal rates for the
          current month for purposes of §§42, 382, 1274, 1288, and 7520.

3.        Guidance providing the 2014 calendar year resident population estimates used in
          determining the state housing credit ceiling under §42(h) and the private activity
          bond volume cap under §146.

4.        Revenue Ruling under §6621 regarding the applicable interest rates for
          overpayments and underpayments of tax for the period April through June 2013.

5.        Revenue Ruling setting forth the terminal charge and the standard industry fare
          level (SIFL) cents-per-mile rates for the first half of 2015 for use in valuing personal
          flights on employer-provided aircraft.

6.        Notice setting forth updates for the corporate bond yield curve for plan years
          beginning in March 2015, the 24-month average segment rates, the funding
          segment rates applicable for March 2015, the spot segment rates for February
          2015 that are used for determining minimum present values, and the 30-year
          Treasury rates.

APRIL 2015

1.        Revenue Ruling setting forth tables of the adjusted applicable federal rates for the
          current month for purposes of §§42, 382, 1274, 1288, and 7520.

2.        Revenue Procedure providing a current list of countries and the dates those
          countries are subject to the §911(d)(4) waiver and guidance to individuals who fail
          to meet the eligibility requirements of §911(d)(1) because of adverse conditions in
          a foreign country.

             •   ANNOUNCEMENT SUPPLEMENTING REV. PROC. 2014-25, BY ADDING
                 A COUNTRY TO THE LIST OF FOREIGN COUNTRIES FOR WHICH THE
                 ELIGIBILITY REQUIRMENTS OF §911(d)(1) ARE WAIVED, PUBLISHED
                 on 08/18/14 in IRB 2014-34 as NOT. 2014- 28 (RELEASED 07/31/14).

3.        Notice setting forth updates for the corporate bond yield curve for plan years
          beginning in April 2015, the 24-month average segment rates, the funding segment
          rates applicable for April 2015, the spot segment rates for March 2015 that are
          used for determining minimum present values, and the 30-year Treasury rates.

4.        Guidance providing the calendar year inflation adjustment factor and reference
          prices for the renewable electricity production credit under §45.

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5.         Guidance providing the calendar year inflation adjustment factor to be used in
           determining the credit for carbon dioxide sequestration under §45Q.

MAY 2015

1.         Revenue Ruling setting forth tables of the adjusted applicable federal rates for the
           current month for purposes of §§42, 382, 1274, 1288, and 7520.

2.         Notice setting forth updates for the corporate bond yield curve for plan years
           beginning in May 2015, the 24-month average segment rates, the funding segment
           rates applicable for May 2015, the spot segment rates for April 2015 that are used
           for determining minimum present values, and the 30-year Treasury rates.

3.         Revenue Procedure providing guidance for use of the national and area median
           gross income figures by issuers of qualified mortgage bonds and mortgage credit
           certificates in determining the housing cost/income ratio under §143.

4.         Revenue Procedure under §223 regarding the inflation adjusted items for 2016.

5.         Guidance under § 5000A concerning the 2015 national average premium for a
           bronze level of coverage.

JUNE 2015

1.         Revenue Ruling setting forth tables of the adjusted applicable federal rates for the
           current month for purposes of §§42, 382, 1274, 1288, and 7520.

2.         Revenue Ruling under §6621 regarding the applicable interest rates for
           overpayments and underpayments of tax for the period July through September
           2014.

3.         Notice setting forth updates for the corporate bond yield curve for plan years
           beginning in June 2015, the 24-month average segment rates, the funding
           segment rates applicable for June 2015, the spot segment rates for May 2015 that
           are used for determining minimum present values, and the 30-year Treasury rates.




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